
54 So.3d 618 (2011)
MIDWAY MINI-STORAGE, LLC, and William Todd Overcash, Appellant,
v.
Jennifer L. MOBLEY, f/k/a Jennifer Overcash, Appellee.
No. 5D10-2831.
District Court of Appeal of Florida, Fifth District.
February 18, 2011.
Chester Trow, of Trow &amp; Dobbins, P.A., Ocala, for Appellant.
Lawrence C. Callaway, III, of Klein &amp; Klein, LLC, Ocala, for Appellee.
PER CURIAM.
AFFIRMED. See Ashemimry v. Ba Nafa, 778 So.2d 495, 498 (Fla. 5th DCA 2001) ("where a fiduciary or trust relationship exists, an action for accounting is considered equitable in nature without regard to other considerations.").
LAWSON, EVANDER and COHEN, JJ., concur.
